BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


       THIRTY-FIRST MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                    MAY 1, 2023 THROUGH MAY 31, 2023

 Name of Applicant:                               Burns Bair LLP

 Authorized to Provide Professional               Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                               Effective October 29, 2020 pursuant to Order
                                                  dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                  May 1, 2023 – May 31, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,         $151,579.75
 reasonable, and necessary:                       80% of which is $121,263.80
 Amount of Expense Reimbursement sought
                                                  $7,084.73
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)            $128,348.53

This is the thirty-first monthly fee statement.
                               PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-first monthly statement (the “Monthly Statement”)

for the period from May 1, 2023 through May 31, 2023 (the “Statement Period”) for payment of

professional services rendered and reimbursement of expenses incurred during the Statement

Period pursuant to the Court’s Order Authorizing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the

“Interim Compensation Order”). Burns Bair requests: (a) interim allowance and payment of

compensation in the amount of $121,263.80 (80% of $151,579.75) for fees on account of

reasonable and necessary professional services rendered to the Committee by Burns Bair, and (b)

reimbursement of actual and necessary costs and expenses in the amount of $7,084.73.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.      Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                          Total
                                       Year of      Year of     Hourly                Total
        Name               Title                                          Hours
                                     Partnership   Admission     Rate              Compensation
                                                                          Billed
Timothy Burns             Partner       2008         1991        $975      57.00     $55,575.00
Timothy Burns - Travel    Partner       2008         1991       $487.50    26.00     $12,675.00
Jesse Bair                Partner       2020         2013        $625      79.60     $49,750.00
Jesse Bair - Travel       Partner       2020         2013       $312.50    19.50      $6,093.75
Nathan Kuenzi            Associate      N/A          2020        $420      17.30      $7,266.00
Brian Cawley             Associate      N/A          2020        $420      17.20      $7,224.00
Leakhena Au              Associate      N/A          2020        $420      29.40     $12,348.00
Alyssa Turgeon           Paralegal      N/A          N/A        $360.00     .90        $324.00
Karen Dempski            Paralegal      N/A          N/A        $360.00     .10         $36.00
Brenda Horn-Edwards      Paralegal      N/A          N/A        $360.00     .80        $288.00
                                                               TOTAL:     247.80    $151,579.75



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        2.      The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.

A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                              NOTICE AND OBJECTION PROCEDURES

        3.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

        4.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by July 17, 2023 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

        5.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



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THIRTY:FIRST MONTHLY FEE STATEMENT OF BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL (MAY 2023) 4890.7807
Dated: June 30, 2023                             BURNS BAIR LLP

                                                  /s/ Timothy W. Burns                               .




                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
                                                 10 E. Doty St., Suite 600
                                                 Madison, WI 53703-3392
                                                 Telephone: (608) 286-2808
                                                 Email: tburns@burnsbair.com
                                                 Email: jbair@burnsbair.com

                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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THIRTY:FIRST MONTHLY FEE STATEMENT OF BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL (MAY 2023) 4890.7807
EXHIBIT A
                                   10 E. Doty St., Suite 600
                                 Madison, Wisconsin 53703-3392
                                         608-286-2302
                                      www.BurnsBair.com
The Official Committee of Unsecured Creditors                        Issue Date :     6/1/2023
of The Roman Catholic Diocese of Rockville
Centre                                                                     Bill # :     01146
                                                                       Due Date : Upon Receipt


Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date     Timekeeper           Narrative                                       Hours   Amount
5/1/2023 Leakhena Au          Participate in BB team conference re case        0.20    $84.00
                              developments and projects (.2);
5/1/2023 Jesse Bair           Participate in BB team conference re case        0.20    $125.00
                              developments and projects (.2);
5/1/2023 Timothy Burns        Conference with J. Bair re mediation strategy    0.70    $682.50
                              (.1); conference with BB team re insurance
                              strategy and related assignments (.2); review
                              and respond to B. Michael correspondence re
                              Committee mediation brief (.1); further review
                              of Committee mediation statement (.2); review
                              correspondence from J. Bair re Arrowood
                              exposure (.1);
5/1/2023 Jesse Bair           Review correspondence with B. Michael and I. 0.20        $125.00
                              Nasatir re Arrowood issues in connection with
                              the Committee's mediation statement (.1);
                              review T. Burns correspondence re same (.1);
5/1/2023 Brian Cawley         Participate in BB team conference re             0.20     $84.00
                              insurance strategy and related assignments
                              (.2)
5/1/2023 Jesse Bair           Review revised version of the Committee's        0.10     $62.50
                              mediation statement (.1);
5/1/2023 Alyssa Turgeon       Participate in BB team conference re             0.20     $72.00
                              insurance strategy and related assignments
                              (.2)
5/1/2023 Jesse Bair           Review the Court's Order granting in part and    0.60    $375.00
                              over-ruling in part the Diocese's 8th omnibus
                              claims objection (.6);
5/1/2023 Alyssa Turgeon       Draft mediation preparation binder for T. Burns 0.50     $180.00
                              (0.5);
5/1/2023 Jesse Bair           Participate in conference with T. Burns re       0.10     $62.50
                              insurance mediation strategy (.1);
5/1/2023 Jesse Bair      Review K. Dine and B. Michael                        0.10    $62.50
                         correspondence to the Committee re case
                         developments and mediation (.1);
5/1/2023 Jesse Bair      Review the Diocese's requests for admission          0.20   $125.00
                         to Arrowood re policy terms and language (.2);
5/1/2023 Nathan Kuenzi   Participate in BB team conference re case            0.20    $84.00
                         developments and projects (.2);
5/2/2023 Jesse Bair      Attend May 2 hearing re CFN sale for                 0.30   $187.50
                         insurance purposes (.3);
5/2/2023 Jesse Bair      Review and edit revised version of the               0.60   $375.00
                         Committee's draft mediation statement,
                         incorporating new Claro figures (.4); review
                         and respond to correspondence with B.
                         Michael re same and related insurance issues
                         (.2);
5/2/2023 Timothy Burns   Review and revise updated version of the             0.90   $877.50
                         Committee's mediation statement (.7); review
                         correspondence with J. Bair and B. Michael re
                         same (.2);
5/2/2023 Jesse Bair      Analyze Claro's revised valuation and                0.20   $125.00
                         insurance allocation analysis (.2);
5/3/2023 Jesse Bair      Review correspondence with B. Michael and            0.10    $62.50
                         the Committee re recent CVA jury verdict (.1);
5/3/2023 Jesse Bair      Correspondence with B. Michael and I. Nasatir        0.10    $62.50
                         re LMI SIR issues (.1);
5/3/2023 Jesse Bair      Review the Diocese's mediation statement             0.40   $250.00
                         (.4);
5/3/2023 Jesse Bair      Participate in call with B. Michael and I. Nasatir   0.30   $187.50
                         re BSA impact, if any, on DRVC claims (.3);
5/3/2023 Jesse Bair      Review the parishes' mediation statement (.3);       0.30   $187.50
5/4/2023 Jesse Bair      Review and respond to correspondence with            0.40   $250.00
                         PSZJ team and the mediators regarding
                         potential exchange of redacted Committee
                         mediation statement with the carriers (.2);
                         conference with T. Burns re same and overall
                         insurance strategy for upcoming mediation
                         sessions (.2);
5/4/2023 Jesse Bair      Review follow-up correspondence from the             0.10    $62.50
                         mediators re exchange of meditation
                         information and related issues (.1);
5/4/2023 Jesse Bair      Participate in portion of meeting with PSZJ          0.80   $500.00
                         team re mediation strategy for insurance
                         purposes (.7); participate in follow-up
                         conference with T. Burns re outcome of same
                         and agenda for upcoming mediation session
                         (.1);
5/4/2023 Jesse Bair      Participate in call with Claro re insurance          0.20   $125.00
                         allocation issues (.2);
5/4/2023 Nathan Kuenzi   Begin researching Delaware law re unfair             0.70   $294.00
                         claims handling practices in connection with
                         Arrowood strategy (.7);
5/4/2023 Jesse Bair      Review draft Claro mediation presentation (.3);   0.30    $187.50
5/4/2023 Timothy Burns   Participate in call with state court counsel re   0.70    $682.50
                         insurance mediation strategy (.1); participate
                         in call with J. Stang re same (.6);
5/4/2023 Jesse Bair      Participate in conference with B. Cawley re       0.70    $437.50
                         instructions for preparing Committee
                         insurance presentation for upcoming
                         mediation session (.4); draft follow-up
                         correspondence to B. Cawley providing
                         supplemental instructions and attaching
                         various case materials needed to prepare
                         presentation (.3);
5/4/2023 Brian Cawley    Participate in conference with J. Bair re         1.50    $630.00
                         instructions for preparing Committee
                         insurance presentation for upcoming
                         mediation session (.4); analyze documents
                         sent by J. Bair in connection with preparing
                         insurance presentation (.9); begin drafting
                         Committee insurance mediation presentation
                         (.2);
5/5/2023 Nathan Kuenzi   Draft outline of memorandum for T. Burns re       0.50    $210.00
                         unfair claims handling practices in connection
                         with Arrowood strategy (.5);
5/5/2023 Jesse Bair      Participate in supplemental call with T. Burns    0.10     $62.50
                         re outcome of state court counsel meeting and
                         preparations in advance of upcoming
                         mediation session (.1);
5/5/2023 Timothy Burns   Participate in conference with J. Bair re the     0.30    $292.50
                         Committee's mediation statement and
                         upcoming mediation session (.2); participate
                         in additional conference with J. Bair re
                         insurance strategy for upcoming mediation
                         session (.1);
5/5/2023 Brian Cawley    Continue drafting Committee insurance             2.50   $1,050.00
                         mediation presentation (2.2); participate in
                         conference with J. Bair re same and potential
                         edits (.2); correspondence with J. Bar re same
                         (.1);
5/5/2023 Jesse Bair      Conference with B. Cawley and answer              0.20    $125.00
                         questions re preparation of Committee
                         insurance presentation for upcoming
                         mediation session (.2);
5/5/2023 Brian Cawley    Continue drafting Committee insurance             4.00   $1,680.00
                         mediation presentation (4.0);
5/5/2023 Jesse Bair      Participate in call with T. Burns re Arrowood     0.10     $62.50
                         and mediation strategy (.1)
5/5/2023 Nathan Kuenzi   Continue detailed research re Delaware            5.50   $2,310.00
                         common law, statutes, and regulations re unfair
                         claims handling practices in connection with
                         Arrowood strategy (5.5);
5/5/2023 Jesse Bair       Participate in state court counsel meeting for     1.20    $750.00
                          insurance purposes re mediation preparations
                          and strategy for upcoming sessions (1.2);
5/5/2023 Jesse Bair       Review Reed Smith supplemental submission          0.10     $62.50
                          re insurance expert work (.1);
5/5/2023 Jesse Bair       Correspondence with I. Nasatir re Committee        0.10     $62.50
                          insurance mediation presentation (.1);
5/6/2023 Jesse Bair       Review Claro analysis re revised insurance         0.20    $125.00
                          "buckets" for POCs (.1); correspondence with
                          Claro re same and additional analysis needed
                          (.1);
5/6/2023 Jesse Bair       Begin reviewing and editing initial draft of the   1.90   $1,187.50
                          Committee's insurance mediation
                          presentation, including drafting additional
                          sections of same (1.9);
5/7/2023 Jesse Bair       Analyze and incorporate T. Burns' suggested        0.30    $187.50
                          edits into draft Committee insurance
                          mediation presentation (.2); correspondence
                          with I. Nasatir re same (.1);
5/7/2023 Nathan Kuenzi    Continue detailed research re Delaware             1.50    $630.00
                          common law, statutes, and regulations re unfair
                          claims handling practices in connection with
                          Arrowood strategy (1.5);
5/7/2023 Jesse Bair       Review J. Stang correspondence re draft            0.10     $62.50
                          Committee insurance mediation presentation
                          (.1);
5/7/2023 Jesse Bair       Continue reviewing and editing initial draft of    1.30    $812.50
                          the Committee's insurance mediation
                          presentation, including drafting additional
                          sections of same (1.3);
5/8/2023 Alyssa Turgeon   Participate in BB team conference re case          0.10     $36.00
                          strategy and related assignments (.1);
5/8/2023 Jesse Bair       Participate in conference with T. Burns re         0.20    $125.00
                          outcome of call with the mediator (.2);
5/8/2023 Timothy Burns    Participate in call with the mediator re           1.40   $1,365.00
                          insurance issues and upcoming mediation
                          sessions (1.0); participate in follow-up meeting
                          with J. Bair re same and outcome of mediator
                          call (.2); participate in BB team conference re
                          case strategy and related assignments (.1);
                          review the Diocese's motion to quash certain
                          Arrowood subpoenas (.1);
5/8/2023 Nathan Kuenzi    Participate in BB team conference re case          0.10     $42.00
                          strategy and related assignments (.1);
5/8/2023 Leakhena Au      Participate in BB team meeting re case             0.10     $42.00
                          developments and related assignment (.1);
5/8/2023 Jesse Bair       Correspond with T. Burns re key insurance          0.10     $62.50
                          materials for review in advance of upcoming
                          mediation session (.1);
5/8/2023 Jesse Bair       Review the Diocese's motion to quash certain       0.10     $62.50
                          Arrowood subpoenas (.1);
5/8/2023 Jesse Bair      Participate in BB team meeting re case                0.10     $62.50
                         developments and related assignment (.1);
5/8/2023 Jesse Bair      Review monthly PSIP information provided by           0.10     $62.50
                         the Diocese (.1);
5/8/2023 Nathan Kuenzi   Finish research re Delaware unfair claims             4.20   $1,764.00
                         handing practices in connection with Arrowood
                         strategy (1.9); draft email memorandum for T.
                         Burns summarizing research re same (2.3);
5/8/2023 Jesse Bair      Participate in conference and provide                 0.40    $250.00
                         instructions to B. Cawley re preparing
                         supplemental insurance presentations for
                         potential use during upcoming mediation
                         sessions (.4);
5/8/2023 Brian Cawley    Participate in conference with J. Bair re             0.40    $168.00
                         preparing supplemental insurance
                         presentations for potential use during
                         upcoming mediation sessions (.4);
5/8/2023 Brian Cawley    Participate in BB team conference re case             0.10     $42.00
                         strategy and related assignments (.1);
5/9/2023 Nathan Kuenzi   Draft supplemental email memorandum for T.            1.20    $504.00
                         Burns addressing additional unfair claims
                         practices issues under Delaware law in
                         connection with Arrowood strategy (1.2);
5/9/2023 Timothy Burns   Travel from Madison to New York for mediation         5.80   $2,827.50
                         [billed at 1/2 travel rate] (5.8);
5/9/2023 Brian Cawley    Draft additional Committee insurance                  3.50   $1,470.00
                         mediation presentation focusing on unfair
                         claims handling and deceptive practices
                         issues (2.0); draft additional Committee
                         insurance mediation presentation with
                         particular focus on certain LMI/Interstate issues
                         (1.4); correspondence with J. Bair re insurance
                         presentations (.1);
5/9/2023 Timothy Burns   Participate in call with J. Bair re Arrowood          5.40   $5,265.00
                         litigation strategy (.2); prepare for call with
                         state court counsel re Arrowood issues and
                         strategy (.8); participate in call with state court
                         counsel group re same (.8); prepare for
                         upcoming mediation session, including review
                         of the parties' mediation statements, draft
                         presentations, and other case insurance
                         materials (3.1); participate in conference with
                         J. Bair re mediation strategy (.5);
5/9/2023 Jesse Bair      Participate in conference with T. Burns re            0.50    $312.50
                         mediation preparations and strategy (.5);
5/9/2023 Jesse Bair       Review and edit initial draft of PSZJ mediation   1.00    $625.00
                          presentation (.3); review correspondence with
                          G. Greenwood and I. Nasatir re potential edits
                          to same (.2); review I. Nasatir's suggested
                          changes to same (.2); draft additional
                          insurance sections of same (.2); continue
                          analyzing insurance materials in preparation
                          for tomorrow's mediation session (.1);
5/9/2023 Jesse Bair       Participate in call with T. Burns re Arrowood     0.20    $125.00
                          litigation strategy (.2);
5/9/2023 Jesse Bair       Travel from Madison to New York for mediation     7.20   $2,250.00
                          [billed at 1/2 travel rate] (7.2);
5/9/2023 Nathan Kuenzi    Research issues regarding insurance               3.30   $1,386.00
                          commissioner oversight and regulatory actions
                          re insolvent insurance companies in
                          connection with Arrowood strategy (3.3);
5/9/2023 Jesse Bair       Draft supplemental presentation for potential     0.90    $562.50
                          use at upcoming mediation re alternative
                          insurance settlement strategies (.9);
5/9/2023 Jesse Bair       Review insurance portion of prior Committee       0.10     $62.50
                          mediation statement recently sent to Judge
                          Cave (.1);
5/10/2023 Jesse Bair      Participate in post-mediation session meeting     0.50    $312.50
                          with PSZJ, T. Burns, and state court counsel re
                          outcome of session and next-steps re case
                          mediation (.5);
5/10/2023 Timothy Burns   Return travel to Madison from New York            5.40   $2,632.50
                          mediation [billed at 1/2 travel rate] (5.4);
5/10/2023 Timothy Burns   Participate in pre-mediation meeting with         7.10   $6,922.50
                          PSZJ and J. Bair re strategy for upcoming
                          session and related presentations (1.5);
                          participate in Committee-only mediation
                          session (5.1); participate in post-mediation
                          session meeting with PSZJ and state court
                          counsel re outcome of session and next-steps
                          (.5);
5/10/2023 Jesse Bair      Return travel to Madison from New York            4.60   $1,437.50
                          mediation [billed at 1/2 travel rate] (4.6);
5/10/2023 Jesse Bair      Analyze coverage materials in preparation for     0.30    $187.50
                          mediation session (.3);
5/10/2023 Jesse Bair      Participate in portion of Committee meeting       1.10    $687.50
                          for insurance purposes re outcome of
                          mediation session and next-steps (1.1);
5/10/2023 Jesse Bair      Review Claro revised mediation presentation       0.20    $125.00
                          (.2);
5/10/2023 Jesse Bair      Participate in pre-mediation meeting with         1.50    $937.50
                          PSZJ and T. Burns re strategy for upcoming
                          session and related presentations (1.5);
5/10/2023 Jesse Bair      Participate in Committee-only mediation           5.10   $3,187.50
                          session with Judge Cave and Paul van
                          Osselaer (5.1);
5/10/2023 Jesse Bair          Review B. Cawley drafts of mediation                  0.20    $125.00
                              presentations re potential alternative
                              settlements strategies (.2);
5/10/2023 Brenda Horn-Edwards Draft monthly BB fee statement (.6); generate         0.80    $288.00
                              and edit Exhibit A to same (.1); correspond
                              with J. Bair re same (.1);
5/11/2023 Jesse Bair          Review Committee agenda for upcoming team             0.10     $62.50
                              strategy call (.1);
5/11/2023 Jesse Bair          Brief review re Arrowood's 30(b)(6) notice on         0.10     $62.50
                              the Diocese (.1);
5/11/2023 Jesse Bair          Review Arrowood's motion to compel letter to          0.20    $125.00
                              the Court re Diocesan deposition testimony
                              (.2);
5/11/2023 Jesse Bair          Prepare for call with T. Law re Arrowood              0.30    $187.50
                              discovery issues (.1); participate in call with T.
                              Law re same (.2);
5/11/2023 Jesse Bair          Review correspondence with B. Michael, J.             0.10     $62.50
                              Stang, and the Committee re additional
                              Thursday mediation session (.1);
5/11/2023 Jesse Bair          Participate in call with T. Burns re outcome of       0.30    $187.50
                              strategy call with PSZJ and insurance strategy
                              for upcoming mediation session (.3);
5/11/2023 Jesse Bair          Participate in conference with B. Cawley re           0.20    $125.00
                              mediation session outcome and next-steps
                              (.2);
5/11/2023 Timothy Burns       Participate in weekly team strategy call with         2.50   $2,437.50
                              PSZJ for insurance purposes re ongoing case
                              tasks and strategy (1.4); participate in call with
                              I. Nasatir re notice testimony (.2); participate in
                              call with J. Bair re insurance strategy for
                              upcoming mediation session (.3); additional
                              analysis re same (.4); participate in call with
                              state court counsel re same (.2);
5/11/2023 Jesse Bair          Participate in call with B. Michael re Arrowood       0.30    $187.50
                              discovery and case insurance issues (.3);
5/12/2023 Timothy Burns       Participate in conference with J. Bair re             1.10   $1,072.50
                              insurance mediation strategy (.2); review
                              correspondence from B. Michael re upcoming
                              mediation session (.1); review
                              correspondence from B. Michael re agenda for
                              upcoming state court counsel meeting (.1);
                              review Arrowood's letter re motion to compel
                              deposition testimony (.1); review Arrowood's
                              response to the Diocese's motion to quash
                              (.2); review the Diocese's response to
                              Arrowood's letter to the court re deposition
                              motion to compel (.2); participate in call with J.
                              Bair re outcome of state court counsel meeting
                              and related insurance issues (.2);
5/12/2023 Jesse Bair          Review Arrowood's response to the Diocese's           0.20    $125.00
                              motion to quash certain subpoenas (.2);
5/12/2023 Jesse Bair       Review correspondence from the mediators re            0.10     $62.50
                           supplemental May 18 mediation session (.1);
5/12/2023 Jesse Bair       Review prior Committee intervention briefing           0.40    $250.00
                           in the Arrowood insurance adversary
                           proceeding (.2); participate in conference with
                           L. Au re supplemental research needed re
                           same in connection with potential expanded
                           Committee discovery rights in Arrowood
                           district court action (.2);
5/12/2023 Jesse Bair       Participate in conference with T. Burns re             0.20    $125.00
                           insurance mediation strategy (.2);
5/12/2023 Jesse Bair       Brief review of case law re the scope of a             0.70    $437.50
                           Committee's intervention rights under Section
                           1109(b) (.2); review the district court's prior
                           order granting in part and denying in part
                           Arrowood's earlier motion to compel (.1); draft
                           correspondence to the Diocese re Committee
                           attendance at all future depositions in the
                           Arrowood district court action (.4);
5/12/2023 Jesse Bair       Participate in conference with PSZJ team re            0.80    $500.00
                           Plan issues and related strategy (.8);
5/12/2023 Jesse Bair       Participate in state court counsel meeting for         0.90    $562.50
                           insurance purposes re mediation and litigation
                           strategy (.7); participate in follow-up call with T.
                           Burns re outcome of same and next-steps (.2);
5/12/2023 Leakhena Au      Detailed research re Second Circuit case law           6.80   $2,856.00
                           re the parameters of a Committee's discovery
                           and other litigation rights as a party in interest
                           under Section 1109(b) in connection with
                           Arrowood adversary proceeding (6.8);
5/12/2023 Jesse Bair       Review the Diocese's response to Arrowood's            0.20    $125.00
                           motion to compel deposition testimony (.2);
5/13/2023 Jesse Bair       Review T. Burns correspondence re writ of              0.10     $62.50
                           mandamus filed by the Diocese of Brooklyn
                           seeking to compel the Delaware Insurance
                           Commissioner to put Arrowood into liquidation
                           (.1);
5/15/2023 Jesse Bair       Review the Diocese of Brooklyn's writ of               0.40    $250.00
                           mandamus seeking to compel the Delaware
                           Insurance Commissioner to put Arrowood into
                           liquidation (.4);
5/15/2023 Jesse Bair       Review and respond to correspondence with              0.20    $125.00
                           B. Michael and I. Nasatir re the Diocese of
                           Brooklyn's Arrowood writ and Committee
                           attendance at future Arrowood depositions
                           (.2);
5/15/2023 Jesse Bair       Participate in conference with T. Burns re case        0.30    $187.50
                           insurance strategy (.3);
5/15/2023 Alyssa Turgeon   Participate in BB team conference re                   0.10     $36.00
                           insurance strategy and related assignments
                           (.1);
5/15/2023 Nathan Kuenzi   Participate in BB team conference re                0.10     $42.00
                          insurance strategy and case assignments (.1);
5/15/2023 Jesse Bair      Review Judge Rochon's order in the Arrowood         0.10     $62.50
                          district court action re hearing on the parties'
                          current discovery disputes (.1);
5/15/2023 Jesse Bair      Review and respond to correspondence with           0.20    $125.00
                          Reed Smith re Committee attendance at future
                          depositions in the Arrowood district court
                          action (.2);
5/15/2023 Leakhena Au     Participate in BB team conference re                0.10     $42.00
                          insurance strategy and related assignments
                          (.1);
5/15/2023 Jesse Bair      Correspondence with B. Cawley re Diocese of         0.10     $62.50
                          Brooklyn expert affidavit filed in connection
                          with Arrowood writ (.1);
5/15/2023 Brian Cawley    Participate in BB team conference re                0.10     $42.00
                          insurance strategy and related assignments
                          (.1);
5/15/2023 Leakhena Au     Continue detailed research re Second Circuit        5.40   $2,268.00
                          case law re the parameters of a Committee's
                          discovery and other litigation rights as a party
                          in interest under Section 1109(b) in connection
                          with Arrowood adversary proceeding (3.6);
                          draft email memorandum summarizing
                          research results (1.8);
5/15/2023 Jesse Bair      Participate in portion of Committee meeting         0.70    $437.50
                          for insurance purposes re case mediation and
                          litigation strategy (.7);
5/15/2023 Timothy Burns   Participate in conference with J. Bair re case      2.30   $2,242.50
                          insurance strategy (.3); participate in call with
                          state court counsel re insurance strategy (.1);
                          participate in BB team meeting re case
                          strategy and related assignments (.1);
                          participate in call with state court counsel and
                          J. Bair re Arrowood issue (.3); review research
                          results re scope of the Committee's
                          intervention rights (.2); review agenda for
                          upcoming Committee meeting (.1); participate
                          in Committee meeting for insurance purposes
                          re case mediation and litigation strategy (1.0);
                          participate in post-call with I. Nasatir re
                          Arrowood issues (.2);
5/15/2023 Jesse Bair      Participate in conference with T. Burns and         0.30    $187.50
                          state court counsel re Arrowood strategy (.3);
5/16/2023 Brian Cawley    Research regarding writ of mandamus exhibits        1.40    $588.00
                          submitted in Delaware action requesting that
                          the Delaware Insurance Commissioner put
                          Arrowood into liquidation (1.2);
                          correspondence with J. Bair and T. Burns re
                          same (.2);
5/16/2023 Jesse Bair      Review correspondence with the Diocese and          0.10     $62.50
                          PSZJ re upcoming mediation session (.1);
5/16/2023 Jesse Bair      Answer L. Au questions re Arrowood litigation       0.10     $62.50
                          project (.1);
5/16/2023 Jesse Bair      Participate in conference with T. Burns and L.      0.40    $250.00
                          Au re Arrowood strategy and related
                          assignments (.4);
5/16/2023 Leakhena Au     Begin drafting proposed complaint against           6.40   $2,688.00
                          Arrowood regarding Arrowood's unfair and
                          deceptive claims practices (6.4);
5/16/2023 Jesse Bair      Participate in conference with T. Burns re          0.40    $250.00
                          insurance mediation strategy (.4);
5/16/2023 Jesse Bair      Attend Court hearing for insurance purposes         0.90    $562.50
                          re claim objection discovery issues (.9);
5/16/2023 Timothy Burns   Participate in conference with J. Bair re           2.00   $1,950.00
                          insurance mediation strategy (.4); participate
                          in conference with J. Bair and L. Au re
                          Arrowood strategy and related assignments
                          (.4); review correspondence with the Diocese
                          and PSZJ re upcoming mediation session (.2);
                          begin preparing for next mediation session
                          (.1); attend Court hearing for insurance
                          purposes re claim objection discovery issues
                          (.9);
5/17/2023 Leakhena Au     Draft email summary re cause of action              1.10    $462.00
                          against Arrowood re Arrowood's unfair and
                          deceptive claims practices (1.1);
5/17/2023 Jesse Bair      Review the Diocese of Brooklyn's expert             0.40    $250.00
                          affidavit re Arrowood's financial condition (.3);
                          correspondence with I. Nasatir re same (.1);
5/17/2023 Leakhena Au     Continue drafting proposed complaint against        4.60   $1,932.00
                          Arrowood regarding Arrowood's unfair and
                          deceptive claims practices (4.6);
5/17/2023 Jesse Bair      Preliminary research re potential Arrowood          0.10     $62.50
                          claim (.1);
5/17/2023 Jesse Bair      Review the parties' joint status update letter to   0.10     $62.50
                          the Court in the Evanston district court action
                          (.1);
5/18/2023 Timothy Burns   Travel to New York from Madison for mediation       5.20   $2,535.00
                          [billed at 1/2 travel rate] (5.2);
5/18/2023 Jesse Bair      Prepare for mediation session (.1); participate     4.80   $3,000.00
                          in day 1 of mediation (3.7); participate in post-
                          mediation meeting with J. Stang and T. Burns
                          re case insurance strategy (1.0);
5/18/2023 Jesse Bair      Travel to New York from Madison for mediation       4.60   $1,437.50
                          [billed at 1/2 travel rate] (4.6);
5/18/2023 Leakhena Au     Analysis re alternative strategies for bringing     2.40   $1,008.00
                          unfair claims practices cause of action against
                          Arrowood (2.4);
5/18/2023 Timothy Burns   Participate in day 1 of mediation (3.7);            4.70   $4,582.50
                          participate in post-mediation meeting with J.
                          Stang and J. Bair re case insurance strategy
                          (1.0);
5/18/2023 Jesse Bair      Review the Diocese's and Arrowood's letter to 0.10          $62.50
                          Judge Rochon re upcoming discovery dispute
                          hearing (.1);
5/19/2023 Timothy Burns   Participate in day 2 of mediation session        13.40   $13,065.00
                          (13.4);
5/19/2023 Jesse Bair      Participate in portion of day 2 of mediation     11.80    $7,375.00
                          session (11.8);
5/19/2023 Timothy Burns   Travel Rate for local travel to and from         1.00      $487.50
                          mediation [billed at 1/2 travel time] (1.0);
5/19/2023 Jesse Bair      Return travel from New York mediation to         3.10      $968.75
                          Madison [billed at 1/2 travel time] (3.1);
5/20/2023 Timothy Burns   Return travel from New York mediation to         8.60     $4,192.50
                          Madison [billed at 1/2 travel time] (8.6);
5/20/2023 Jesse Bair      Review correspondence with state court           0.10       $62.50
                          counsel re mediation strategy (.1);
5/21/2023 Jesse Bair      Correspondence with T. Burns re outcome of       0.10       $62.50
                          state court counsel meeting re potential
                          mediation counter (.1);
5/21/2023 Jesse Bair      Prepare for state court counsel meeting (.1);    1.40      $875.00
                          participate in meeting with PSZJ and state
                          court counsel for insurance purposes re
                          mediation strategy and potential next counter
                          (1.3);
5/21/2023 Timothy Burns   Correspondence with J. Bair re outcome of        0.10       $97.50
                          state court counsel meeting re mediation
                          strategy (.1);
5/22/2023 Jesse Bair      Draft Section 3420 notice letter to the carriers 1.10      $687.50
                          (1.0); correspondence with T. Burns re same
                          (.1);
5/22/2023 Jesse Bair      Draft letter to the Court re the Committee's     0.20      $125.00
                          participation at the upcoming Arrowood
                          discovery hearing (.2);
5/22/2023 Jesse Bair      Participate in conference with T. Burns re the   0.20      $125.00
                          mediators' recent correspondence and
                          potential response to same (.2);
5/22/2023 Karen Dempski   Finalize and file with the Court letter re the   0.10       $36.00
                          Committee's participation at the upcoming
                          Arrowood discovery hearing (.1);
5/22/2023 Jesse Bair      Analyze W. Chapin deposition transcript in       2.10     $1,312.50
                          preparation for Arrowood discovery hearing
                          (2.1);
5/22/2023 Jesse Bair      Review correspondence from the mediators re 0.20           $125.00
                          potential next-steps (.1); review
                          correspondence with J. Stang and state court
                          counsel re same (.1);
5/22/2023 Timothy Burns   Review and consider correspondence from the          1.50   $1,462.50
                          mediators re potential next-steps(.2);
                          participate in call with J. Bair re same (.2);
                          prepare for state court counsel meeting re
                          same (.4); participate in meeting with state
                          court counsel and PSZJ for insurance
                          purposes re mediation strategy and potential
                          response to the mediators' recent
                          correspondence (.7);
5/22/2023 Jesse Bair      Prepare for meeting with state court counsel         0.80    $500.00
                          and PSZJ re mediation strategy (.1);
                          participate in meeting with state court counsel
                          and PSZJ for insurance purposes re mediation
                          strategy and potential response to the
                          mediators' recent correspondence (.7);
5/23/2023 Jesse Bair      Participate in Committee meeting for                 1.10    $687.50
                          insurance purposes re mediation strategy and
                          response to the mediators (1.1);
5/23/2023 Jesse Bair      Review initial draft of Committee letter to the      0.20    $125.00
                          mediators (.1); review suggested edits to
                          same from state court counsel (.1);
5/23/2023 Jesse Bair      Preliminary review of email memorandum from          0.10     $62.50
                          L. Au re cause of action against Arrowood re
                          Arrowood's unfair and deceptive claims
                          practices (.1);
5/23/2023 Jesse Bair      Participate in call with T. Burns re draft Section   0.20    $125.00
                          3420 notice letter, the Committee's draft
                          response letter to the mediators, and
                          upcoming Committee call re mediation
                          strategy (.2);
5/23/2023 Jesse Bair      Participate in conference with B. Cawley re          0.30    $187.50
                          additional research needed in connection with
                          finalizing Section 3420 notice letters to the
                          insurers (.2); answer follow-up questions from
                          B. Cawley in connection with same (.1);
5/23/2023 Brian Cawley    Participate in conferences with J. Bair re           3.50   $1,470.00
                          Section 3420 notice letters project (.3); draft
                          revised version of Section 3420 notice letters
                          to each of the Diocese's carriers (3.2);
5/23/2023 Jesse Bair      Review, edit, and draft additional portions of       5.10   $3,187.50
                          proposed complaint against Arrowood
                          regarding Arrowood's unfair and deceptive
                          claims practices (5.1);
5/23/2023 Jesse Bair      Correspondence with I. Nasatir and J. Stang re       0.10     $62.50
                          draft Section 3420 notice letter to the insurers
                          (.1);
5/23/2023 Timothy Burns   Participate in call with J. Bair re Committee     2.10   $2,047.50
                          response letter to the mediators and upcoming
                          Committee call re mediation strategy (.2);
                          participate in Committee meeting for
                          insurance purposes re mediation strategy and
                          response to the mediators (1.1); review
                          correspondence from I. Nasatir re Section
                          3420 notice letter (.1); review correspondence
                          from J. Stang re same (.1): review draft
                          Committee response letter to mediators (.2);
                          review and respond to correspondence with
                          state court counsel re same (.2); review draft
                          Section 3420 letter (.1); review
                          correspondence from the mediator re
                          mediation developments (.1);
5/23/2023 Jesse Bair      Review additional correspondence from the         0.10     $62.50
                          mediators re potential next-steps (.1);
5/24/2023 Jesse Bair      Review I. Nasatir correspondence re recent        0.10     $62.50
                          Diocese insurance activities (.1);
5/24/2023 Jesse Bair      Review and consider Order cancelling              0.20    $125.00
                          Arrowood discovery hearing and related
                          orders designating Judge Cave as magistrate
                          for all pre-trial purposes (.1); correspondence
                          with PSZJ re same (.1);
5/24/2023 Timothy Burns   Review correspondence from PSZJ re                0.30    $292.50
                          mediation developments (.1); review
                          correspondence from the mediators re same
                          (.1); review final version of the Committee's
                          response letter to mediators (.1);
5/24/2023 Jesse Bair      Review final version of Committee letter to the   0.20    $125.00
                          mediators and mediators' response to same
                          (.1); review additional correspondence with J.
                          Stang and state court counsel re same (.1);
5/25/2023 Jesse Bair      Review suggested edits received from J.           0.50    $312.50
                          Stang and I. Nasatir to draft Section 3420
                          notice letters (.1); review updated version of
                          notice letters received from B. Cawley (.1);
                          begin drafting revised version of insurer
                          Section 3420 notice letters incorporating
                          suggested edits (.3);
5/25/2023 Jesse Bair      Participate in portion of meeting with PSZJ       0.60    $375.00
                          team for insurance purposes re mediation and
                          insurance strategy (.6);
5/25/2023 Timothy Burns   Participate in portion of meeting with PSZJ       0.50    $487.50
                          team for insurance purposes re mediation and
                          insurance strategy (.5);
5/25/2023 Jesse Bair      Review Judge Cave's orders re discovery           0.10     $62.50
                          status update letters in the LMI and Evanston
                          actions (.1);
5/26/2023 Jesse Bair      Participate in conference with T. Burns re        0.20    $125.00
                          insurance case strategy (.2);
5/26/2023 Timothy Burns   Participate in conference with J. Bair re            3.80   $3,705.00
                          insurance case strategy (.2); correspondence
                          with state court counsel re Arrowood issues
                          (.1); review correspondence with PSZJ re
                          upcoming state court counsel meeting (.1);
                          reviewed Order re Ninth Objection to Claims
                          (.6); review motion to compel order (.1); review
                          correspondence with PSZJ and the
                          Committee re recent communications with the
                          mediators and next-steps (.2); review
                          correspondence from J. Bair re discovery
                          developments in the insurance district court
                          actions (.1); review correspondence from I.
                          Nasatir re case insurance issues (.1); review
                          PSZJ's next-steps memo (.2); review
                          discovery order from Judge Cave (.1); review
                          orders re assignment of magistrate for all pre-
                          trial purposes in certain insurance district court
                          actions (.2); participate in state court counsel
                          meeting for insurance purposes re mediation
                          and litigation strategy (.9); review and revise
                          proposed unfair and deceptive claims
                          practices complaint against Arrowood (.8);
                          review the mediators' report to the court (.1);
5/26/2023 Jesse Bair      Continue revising and finalizing Section 3420        1.50    $937.50
                          notice letters and transmit same to the carriers
                          (1.5);
5/26/2023 Jesse Bair      Review the mediators' status report (.1);            0.10     $62.50
5/26/2023 Jesse Bair      Review T. Burns' suggested edits to the              0.40    $250.00
                          proposed Arrowood unfair and deceptive
                          claims practices complaint (.2);
                          correspondence with PSZJ re same and
                          related demand letter (.2);
5/26/2023 Jesse Bair      Review the Court's order sustaining in part the      0.30    $187.50
                          Diocese's ninth omnibus claims objection (.3);
5/26/2023 Jesse Bair      Participate in state court counsel meeting for       0.80    $500.00
                          insurance purposes re mediation and litigation
                          strategy (.8);
5/27/2023 Jesse Bair      Provide instructions to L. Au re drafting            0.20    $125.00
                          demand letter re proposed unfair and
                          deceptive claims practices complaint against
                          Arrowood (.2);
5/27/2023 Jesse Bair      Review correspondence with J. Stang and T.           0.10     $62.50
                          Burns re potential edits to draft unfair and
                          deceptive claims practices complaint against
                          Arrowood (.1);
5/27/2023 Jesse Bair      Correspondence with G. Greenwood and J.              0.10     $62.50
                          Stang re draft demand letter re proposed
                          Arrowood unfair and deceptive claims
                          practices complaint (.1);
5/29/2023 Jesse Bair      Preliminary review re J. Stang's suggested         0.10     $62.50
                          edits to the proposed Arrowood unfair and
                          deceptive claims practices complaint (.1);
5/29/2023 Jesse Bair      Review the Diocese's 12th omnibus claims           0.10     $62.50
                          objection regarding late-filed claims (.1);
5/29/2023 Jesse Bair      Review the Diocese's eleventh omnibus              0.20    $125.00
                          claims objection regarding BSA claims (.2);
5/29/2023 Jesse Bair      Analyze and respond to insurance question          0.30    $187.50
                          from B. Michael re insurance impact, if any, of
                          prosecution of certain state court lawsuits
                          disallowed under the Court's recent order re
                          pre-1957 abuse (.3);
5/30/2023 Jesse Bair      Participate in portion of Committee meeting        0.60    $375.00
                          for insurance purposes re mediation and
                          litigation strategy (.6);
5/30/2023 Jesse Bair      Review and edit First Amended Trust                0.20    $125.00
                          Allocation Protocol (.2);
5/30/2023 Jesse Bair      Review and respond to correspondence with          0.50    $312.50
                          the Diocese re potential amendment to the
                          Committee Intervention Order re discovery
                          access in the Arrowood district court action
                          (.1); prepare draft correspondence to
                          Arrowood re same and requesting discovery
                          meet and confer (.4);
5/30/2023 Jesse Bair      Review and edit First Amended Trust                0.20    $125.00
                          Agreement (.2);
5/30/2023 Jesse Bair      Review and edit draft Committee                    1.50    $937.50
                          memorandum re motion to dismiss issues,
                          including drafting of insurance section of same
                          (1.3); review correspondence with I. Nasatir re
                          same (.1); participate in conference with T.
                          Burns re same (.1);
5/30/2023 Jesse Bair      Participate in call with T. Burns re outcome of    0.10     $62.50
                          Purdue Pharma decision (.1);
5/30/2023 Timothy Burns   Participate in call with state court counsel re    1.90   $1,852.50
                          insurance strategy issues (.1); review Purdue
                          Pharma decision (.8); conference with J. Bair
                          re same (.1); preliminary analysis re potential
                          Committee Second Amended Plan edits (.1);
                          participate in conference with J. Bair re motion
                          to dismiss memo (.1); correspondence with B.
                          Michael re team strategy meeting (.1);
                          participate in portion of Committee meeting for
                          insurance purposes re mediation and litigation
                          strategy (.6);
5/30/2023 Jesse Bair      Review and edit for insurance purposes the         2.00   $1,250.00
                          Second Amended Committee Plan (1.9);
                          participate in conference with T. Burns re same
                          (.1);
5/30/2023 Jesse Bair      Review correspondence with I. Nasatir and K.         0.10     $62.50
                          Dine re insurance impact, if any, of prosecution
                          of certain state court lawsuits disallowed under
                          the Court's recent order re pre-1957 abuse
                          (.1);
5/30/2023 Leakhena Au     Draft demand letter re proposed unfair and           2.30    $966.00
                          deceptive claims practices complaint against
                          Arrowood (2.3);
5/31/2023 Timothy Burns   Participate in conference with J. Bair re motion     4.30   $4,192.50
                          to dismiss memo (.1); review and revise
                          motion to dismiss memo for insurance
                          purposes (.8); participate in strategy call with
                          PSZJ for insurance purposes re litigation,
                          mediation, and Plan strategy (1.2); review
                          correspondence with J. Stang, the Diocese,
                          and Judge Cave re mediation (.2); review
                          agenda for state court counsel meeting (.1);
                          correspondence with state court counsel re
                          Arrowood solvency issues (.1); review
                          Evanston correspondence re joint discovery
                          letter (.1); reviewed T. Law's letter to court re
                          discovery and Lexington's suggested changes
                          (.2); conference with J. Bair re proposed
                          Arrowood complaint edits (.3); review J. Bair
                          correspondence to Arrowood re adversary
                          proceeding participation (.1); participate in
                          portion of state court counsel meeting for
                          insurance purposes re litigation, mediation,
                          and Plan strategy (1.1);
5/31/2023 Jesse Bair      Edit and finalize discovery meet and confer          0.10     $62.50
                          correspondence to Arrowood (.1);
5/31/2023 Jesse Bair      Correspondence with B. Michael re agenda for         1.70   $1,062.50
                          upcoming team strategy call (.1); prepare for
                          team strategy call with PSZJ (.1); participate in
                          strategy call with PSZJ for insurance purposes
                          re litigation, mediation, and Plan strategy (1.2);
                          participate in follow-up conference with T.
                          Burns re potential changes to proposed
                          Arrowood unfair claims practices complaint in
                          light of meeting (.3);
5/31/2023 Jesse Bair      Review correspondence with the Diocese and           0.10     $62.50
                          Judge Cave re continued mediation
                          negotiations (.1);
5/31/2023 Jesse Bair      Participate in portion of state court counsel        1.10    $687.50
                          meeting for insurance purposes re litigation,
                          mediation, and Plan strategy (1.1);
5/31/2023 Jesse Bair      Review draft joint status letter to the Court in     0.20    $125.00
                          the LMI/Lexington district court action (.1);
                          review Lexington's suggested edits to same
                          (.1);
5/31/2023 Jesse Bair   Participate in conference with T. Burns re           0.30    $187.50
                       motion to dismiss memo (.1); review T. Burns'
                       suggested insurance edits to same (.1);
                       finalize insurance-related sections of memo
                       (.1);
5/31/2023 Jesse Bair   Review draft joint status letter to the court in the 0.20    $125.00
                       Evanston district court action (.1); review
                       correspondence with the Diocese and
                       Evanston re potential edits to same (.1);
Total Hours and Fees                                                     247.80 $151,579.75

                                   EXPENSES


Date                   Description                                                  Amount
5/9/2023               Taxi, J. Bair (airport to hotel)                              $83.29
5/9/2023               Hotel, T. Burns (1 night)                                    $644.21
5/9/2023               Travel meal, T. Burns                                         $10.82
5/9/2023               United Airlines, T. Burns (May 9-10 ORD-LGA)                 $374.70
5/9/2023               Hotel, J. Bair (1 night)                                     $485.46
5/9/2023               Travel meal, J. Bair                                          $16.33
5/9/2023               Delta Airlines, J. Bair (MSN-LGA May 9-10)                   $269.70
5/9/2023               Delta Airlines WiFi, J. Bair                                   $9.95
5/10/2023              Delta Airlines WiFi, J. Bair                                  $15.95
5/10/2023              Travel meal, T. Burns                                         $36.30
5/10/2023              Travel meal, J. Bair                                          $20.73
5/10/2023              Airport parking, J. Bair                                      $20.00
5/16/2023              Westlaw, legal charges to obtain exhibits from               $697.00
                       Delaware Court in Arrowood mandamus
                       action
5/18/2023              Taxi, J. Bair (airport to hotel)                              $99.96
5/18/2023              Taxi, T. Burns (airport to hotel)                            $127.00
5/18/2023              United Airlines, T. Burns (MSN-EWR May 18-                   $927.80
                       19)
5/18/2023              Delta Airlines, J. Bair (May 18-19 MSN-LGA)                 $1,037.10
5/18/2023              Delta WiFi Onboard, J. Bair                                     $4.95
5/18/2023              United Inflight Wi-Fi, T. Burns                                 $8.00
5/18/2023              Hotel, T. Burns (1 night)                                    $670.31
5/18/2023              Hotel, J. Bair (1 night)                                     $670.31
5/19/2023              Airport parking, J. Bair                                       $20.00
5/19/2023              Hotel, T. Burns (1 additional night)                         $670.31
5/19/2023              Uber, J. Bair (mediation to airport)                         $125.96
5/20/2023              United Airlines Inflight Wi-Fi, T. Burns                        $8.00
5/20/2023              Travel meal, T. Burns                                          $30.59
Total Expenses                                                                     $7,084.73


                            Timekeeper Summary
Name                  Hours          Rate                Amount
Alyssa Turgeon         0.90       $360.00                $324.00
Brenda Horn-Edwards    0.80       $360.00                $288.00
Brian Cawley          17.20       $420.00              $7,224.00
Jesse Bair            19.50       $312.50              $6,093.75
Jesse Bair            79.60       $625.00             $49,750.00
Karen Dempski          0.10       $360.00                 $36.00
Leakhena Au           29.40       $420.00             $12,348.00
Nathan Kuenzi         17.30       $420.00              $7,266.00
Timothy Burns         26.00       $487.50             $12,675.00
Timothy Burns         57.00       $975.00             $55,575.00



                              Total Due This Invoice: $158,664.48
